Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 1 of 28 Page ID #:6
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 2 of 28 Page ID #:7
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 3 of 28 Page ID #:8
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 4 of 28 Page ID #:9
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 5 of 28 Page ID #:10
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 6 of 28 Page ID #:11
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 7 of 28 Page ID #:12
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 8 of 28 Page ID #:13
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 9 of 28 Page ID #:14
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 10 of 28 Page ID #:15
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 11 of 28 Page ID #:16
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 12 of 28 Page ID #:17
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 13 of 28 Page ID #:18
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 14 of 28 Page ID #:19
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 15 of 28 Page ID #:20
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 16 of 28 Page ID #:21
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 17 of 28 Page ID #:22
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 18 of 28 Page ID #:23
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 19 of 28 Page ID #:24
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 20 of 28 Page ID #:25
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 21 of 28 Page ID #:26
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 22 of 28 Page ID #:27
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 23 of 28 Page ID #:28
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 24 of 28 Page ID #:29
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 25 of 28 Page ID #:30
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 26 of 28 Page ID #:31
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 27 of 28 Page ID #:32
Case 2:20-cv-10752-PA-GJS Document 1-1 Filed 11/25/20 Page 28 of 28 Page ID #:33
